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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

PRATIBHA KAPOOR                               :

               Plaintiff,                     :       CASE NO. 2:13-cv-810

       v.                                     :       JUDGE WATSON

THE OHIO STATE UNIVERSITY                     :       MAGISTRATE JUDGE DEAVERS

               Defendant.                     :

                            JOINT STIPULATION OF DISMISSAL

       NOW COME all parties to the above-styled case, pursuant to Fed. R. Civ. P. Rule

41(a)(1)(A)(i), and hereby stipulate to the Court that all claims in the above-styled case are

hereby dismissed with prejudice, with each party to bear its own costs and expenses.

Respectfully Submitted,


  /s/ Gary A. Reeve                                  /s/ Sloan T. Spalding
Gary A. Reeve (0064872)                             Sloan T. Spalding (0068054)
Trial Counsel for Plaintiff                         Trial Counsel for Defendant
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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was electronically filed with the Clerk of Courts

through the CM/ECF system, which will send notification of such filing to Defendant’s counsel

via electronic mail.


                                              s/ Gary A. Reeve
                                              Gary A. Reeve
